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                        EXHIBIT C
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                         In the Matter of:

                Maya Detiege, Dayne Sherman

                                    vs.

Katrina Jackson, in her official and individual capacities

     ________________________________________________


                        Dayne Sherman
                             October 1, 2024

      _______________________________________________
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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA


            MAYA DETIEGE, DAYNE SHERMAN          CIVIL ACTION
            VERSUS                               NO. 3:23-cv-175
            KATRINA JACKSON, in her              JUDGE: FOOTE
            official and individual
            capacities                        MAG. JUDGE MCCLUSKY




            *******************************************


                  Deposition of DAYNE SHERMAN, taken in the
            above-entitled cause, before Lisa LaNasa
            Hibbs, a Certified Court Reporter, pursuant to
            the following stipulation, taken in the
            Lavin-Bernick Center, Tulane University, 29
            McAlister Drive, New Orleans, Louisiana, on
            the 1st day of October, 2024, commencing at
            10:58 a.m. and ending at 11:21 a.m..
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       1                     A P P E A R A N C E S
       2
       3                     FOR THE PLAINTIFFS:
       4                     TULANE LAW SCHOOL
                             FIRST AMENDMENT CLINIC
       5                     BY: KATIE SCHWARTZMANN, ESQ.
                                  ANNA CLEVELAND, ESQ.
       6                          LANDON PETTIGREW, ESQ.
                                  RICHARD CROW, ESQ.
       7                          VIRGINIA HAMRICK, ESQ.
                             6329 Freret Street
       8                     New Orleans, Louisiana 70118
                             kschwartzmann@tulane.edu
       9
      10
                             FOR THE DEFENDANT:
      11
                             HAMMOND, SILLS, ADKINS, GUICE,
      12                     NOAH & PERKINS
                             Attorneys at Law
      13                     BY: THOMAS M. HAYES, IV, ESQ.
                             1500 North 19th Street, Suite 301
      14                     Monroe, Louisiana 71201
                             thayes4@hamsil.com
      15
      16    ALSO PRESENT:
      17    MAYA DETIEGE
      18
      19    REPORTED BY:
      20    LISA LANASA HIBBS, CCR
            Certified Court Reporter
      21
      22
      23
      24
      25
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       1                           I N D E X
       2
       3    EXAMINATION BY:                            PAGE
       4              MR. HAYES                                5
       5              MR. PETTIGREW                            20
       6
       7
       8                     E X H I B I T     I N D E X
       9
      10                       (No exhibits attached.)
      11
      12
      13
      14
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      24
      25
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       1                     S T I P U L A T I O N
       2
       3              It is stipulated and agreed to by and
       4    between counsel that the deposition of DAYNE
       5    SHERMAN is hereby being taken pursuant to
       6    notice under the Federal Code of Civil
       7    Procedure for all purposes permitted under
       8    law.
       9              The formalities, including those of
      10    sealing, certification, and filing, are
      11    waived.   The formalities of reading and
      12    signing the deposition are not waived.
      13              All objections, except those as to
      14    the form of the question and/or the
      15    responsiveness of the answer, are reserved
      16    until the time of the trial of this case.               All
      17    objections are to be considered under C.C.P.
      18    Article 1443, Paragraph D.
      19
      20
      21                           * * * * *
      22
      23              LISA LANASA HIBBS, CCR, State of
      24    Louisiana, officiated in administering the
      25    oath to the herein witness.
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       1               DAYNE SHERMAN, 402 Silverstone Circle,
       2    Ponchatoula, Louisiana, 70454, who, after
       3    having been first duly sworn to tell the
       4    truth, the whole truth, and nothing but the
       5    truth, was examined and testified as follows:
       6    BY MR. HAYES:
       7          Q.    Good morning, Mr. Sherman.              I'm
       8    Tommy Hayes.      We met earlier this morning --
       9          A.    Yes.
      10          Q.    -- prior to Ms. Detiege's
      11    deposition.       First of all, could you, please,
      12    state your full name for the record?
      13          A.    Dayne, D-A-Y-N-E, Allan, A-L-L-A-N,
      14    Sherman, S-H-E-R-M-A-N.
      15          Q.    Mr. Sherman, what is your -- well,
      16    give me your full address for the record,
      17    please?
      18          A.    402 Silverstone Circle, Ponchatoula,
      19    Louisiana, 70454.
      20          Q.    You were present for Ms. Detiege's
      21    testimony earlier, so you understand how this
      22    works, but just to make sure you understand,
      23    we're here for your deposition today.                Have
      24    you ever given a deposition before?
      25          A.    No.
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       1          Q.    So you saw how the process works?
       2    It's a question and answer session.                 It's
       3    important to give verbal answers as opposed to
       4    nods or shakes of the head or shaking uh-huh
       5    or huh-huh, because those don't translate very
       6    well to the typed English language.                 If you
       7    need a break at any point, let me know and we
       8    can take a break.        And if you don't understand
       9    my question, let me know and I'll try to do a
      10    better job asking you.        All that understood?
      11          A.    Yes.
      12          Q.    Very good.      How long have you lived
      13    at the address on Silverstone Circle that you
      14    gave me a minute ago?
      15          A.    Twenty and a half years.
      16          Q.    What is your date of birth?
      17          A.    1-7-70.
      18          Q.    Tell me about your educational
      19    background?
      20          A.    I have a Bachelor's degree and two
      21    Master's degrees.
      22          Q.    What's your Bachelor's degree in?
      23          A.    Communication.
      24          Q.    Is that a BA or a BS?
      25          A.    BA.    BA.   Communication.
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       1          Q.    What about your Master's?
       2          A.    Master of Library and Information
       3    Science.
       4          Q.    And your second Master's?
       5          A.    MA English.
       6          Q.    Were you born here in Louisiana?
       7          A.    Hammond.
       8          Q.    Lived in Louisiana your whole life?
       9          A.    Yes.
      10          Q.    Did you go away at any point?
      11          A.    Couple of short trips for jobs,
      12    mostly.
      13          Q.    Are you currently employed?
      14          A.    Yes.
      15          Q.    Where do you work?
      16          A.    I work at Southeastern Louisiana
      17    University in Hammond.
      18          Q.    What is your job there?
      19          A.    Head of Reference in the Library.
      20    Full Professor of Library Science.
      21          Q.    How long have you held that
      22    position?
      23          A.    I've worked in the library
      24    continuously, 21 and a half years.            I've been
      25    Head of Reference, four and a half years.
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       1    I've been a full Professor, five years, I
       2    think.
       3            Q.   Okay.     You ever been involved in any
       4    other lawsuits?
       5            A.   I've only joined one other lawsuit
       6    related to the Office of Group Benefits,
       7    Louisiana Office of Group Benefits.                  I joined
       8    that lawsuit related to funds diminishing.
       9            Q.   You were one of a class of
      10    plaintiffs?
      11            A.   A class.      I think that would be
      12    appropriate to call it that.            That's the only
      13    lawsuit I've ever been a part of.
      14            Q.   Is that suit ongoing?
      15            A.   I think it is.         I have not heard in
      16    a long time.       That suit is 10-years old.
      17            Q.   The nature of the beast with class
      18    action, sometimes.         You've not been called
      19    upon to give any testimony in connection about
      20    that?
      21            A.   Not at this time.
      22            Q.   Have you had to answer discovery
      23    requests, anything like that?
      24            A.   No.     None.
      25            Q.   Okay.     Are you married?
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       1          A.    Yes.
       2          Q.    Spouse's name?
       3          A.    Kristy, K-R-I-S-T-Y, Sherman.
       4          Q.    How long have you and Kristy been
       5    married?
       6          A.    21 and a half years.
       7          Q.    Any children?
       8          A.    One.
       9          Q.    How old?
      10          A.    Nineteen.
      11          Q.    All right.     We're here to talk about
      12    a case that arises from social media usage.
      13    So I know that you have a Twitter page that
      14    has been identified in connection with this
      15    lawsuit.    Tell me about --
      16          A.    Yes.
      17          Q.    Tell me about other social media
      18    that you use.
      19          A.    I use Facebook.
      20          Q.    What's your handle there?
      21          A.    My name.     In addition to that, I
      22    have several "business" pages that are all
      23    identified -- I'm a writer, so I have Accendo
      24    Books.
      25          Q.    Is that --
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       1          A.    A-C-C-E-N-D-O, Books.         It's public.
       2    I have, maybe, Dayne Sherman Author.               Talk
       3    About The South.      Those are -- that's
       4    political in nature.         So that's really --
       5    those are business oriented.          And then I have
       6    Dayne Sherman identified as Facebook.               I have
       7    an Instagram.       And --
       8          Q.    Okay.     And what's your handle there?
       9          A.    It's Show The South, @showthesouth.
      10          Q.    Okay.
      11          A.    And I have one Twitter account,
      12    @talkaboutthesouth, and my name is prominent,
      13    has always prominently been on it.             And if you
      14    call it social media, I do have a professional
      15    Linkedin page with, obviously, my name.
      16          Q.    Very good.       So only one Twitter page
      17    that you use and it's @talkaboutthesouth as
      18    referenced in the lawsuit, correct?
      19          A.    Yes, sir.
      20          Q.    Did you review the lawsuit at the
      21    time that the amended petition was put
      22    together?
      23          A.    I can't recall what I read, but I
      24    can't say definitively I've read it.               I know
      25    I've read something, but whether it was
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       1    amended, I don't remember.
       2          Q.    And I say amended.        You weren't
       3    originally a party to the suit, so I'm
       4    referring to what's called the First Amended
       5    Petition, which made some changes, the primary
       6    of which was to add your claims and the
       7    specifics behind those claims of the suit.               So
       8    did you have an opportunity to review that
       9    before it was filed?
      10          A.    I can't remember.
      11          Q.    Fair enough.      As I read the
      12    allegations of that petition, the interaction
      13    that ultimately led to Ms. Jackson blocking
      14    you occurred in 2013; is that correct?
      15          A.    Yes.
      16          Q.    And it was some back and forth
      17    concerning some bills regarding education and
      18    the reciting of The Lord's Prayer in school?
      19          A.    Yes.
      20          Q.    And some back and forth over the
      21    course of a couple of days, which culminated
      22    with you being blocked, apparently, on April
      23    8th, 2013; is that right?
      24          A.    That sounds accurate.
      25          Q.    That's what it says in your --
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       1          A.    Yes.
       2          Q.    That's what it says in your lawsuit
       3    so you think --
       4          A.    Yes.    Yes.   Yes.
       5          Q.    As you sit here today, do you know
       6    whether you're still blocked from Senator
       7    Jackson's --
       8          A.    I was unblocked about a year ago.
       9          Q.    Okay.    Do you know if at the time
      10    you filed or the amended petition was filed --
      11    and that filing occurred on August 21st, 2023.
      12    Do you know if --
      13          A.    I think I was unblocked at that
      14    point.
      15          Q.    Okay.    At the time that the --
      16          A.    Yes.
      17          Q.    Let me finish the question to make
      18    sure the record is clear.
      19          A.    I'm sorry.
      20          Q.    That's okay.      It happens.          So is
      21    your testimony, to the best of your knowledge,
      22    at the time the First Amended Petition was
      23    filed on August 21st, 2023, that you had
      24    actually been unblocked from Katrina Jackson's
      25    Twitter page?
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       1          A.    That is my memory.
       2          Q.    Okay.     Do you know whether you
       3    remain unblocked as we sit here today?
       4          A.    I haven't checked recently, but the
       5    last I checked, yes.        I was unblocked.
       6          Q.    Do you have your phone with you?
       7          A.    It's down there.        I could --
       8          Q.    Would you mind grabbing your phone
       9    and seeing whether you can confirm whether or
      10    not you are currently blocked on Senator
      11    Katrina Jackson's Twitter page?
      12          A.    I am unblocked.
      13          Q.    Okay.     Do you have any evidence to
      14    suggest that between the time that the amended
      15    petition was filed and the time of today, that
      16    you have been reblocked from her Twitter page?
      17          A.    Not that I'm aware of.
      18          Q.    Tell me why you decided to file suit
      19    against Senator Jackson?
      20          A.    I saw the suit in the newspaper, or
      21    some news.       I saw it and I said hey, I'm
      22    blocked.    I've been blocked for like ten
      23    years.     And I sought out to join this suit
      24    because I'm very interested in the First
      25    Amendment and the precedent of any public
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       1    official blocking any citizen.             So I looked at
       2    it as this might be a way to solve that First
       3    Amendment problem.         And that's the only reason
       4    I joined this suit was because I thought it
       5    would -- it may help set a precedent where
       6    public officials couldn't block any citizens,
       7    any public official, not just Senator Jackson.
       8            Q.     At the time you heard about the
       9    suit, did you confirm whether or not you
      10    remained blocked on --
      11            A.     At that time --
      12            Q.     Let me finish the question.
      13            A.     I'm sorry.
      14            Q.     -- remained blocked on Senator
      15    Jackson's Twitter page?
      16            A.     At the time I sought it out -- not
      17    the amended.       Not by the time it got to a
      18    lawsuit.       I was blocked.       When I saw the
      19    article, I was blocked.
      20            Q.     Do you remember when you saw the
      21    article?
      22            A.     Early -- either very early 2023 or
      23    late -- wait.          Either late, late 2022 or early
      24    2023.        I don't remember the exact date.
      25            Q.     Okay.     Was it -- whatever the source
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       1    was, an article of some kind, did it reference
       2    a suit having been filed against Katrina
       3    Jackson?
       4            A.   I don't know if it had been filed or
       5    if it was just being discussed at that point.
       6    I don't -- I don't remember.
       7            Q.   But at that point in time, that
       8    reminded you oh, I'm blocked from Katrina
       9    Jackson's Twitter page and I'm interested in
      10    pursuing this relief, as well?
      11            A.   Yes.
      12            Q.   Did you -- and at that point, you
      13    took action to join the lawsuit?
      14            A.   Yes.
      15            Q.   After that day when you learned
      16    about the existence of the suit and confirmed
      17    that you were still blocked, had you looked
      18    back to determine your status of access to
      19    Katrina Jackson's Twitter page since that
      20    time?
      21                 MR. PETTIGREW:
      22                        Objection to form.
      23                 THE WITNESS:
      24                        Can you repeat the question?
      25    //
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       1    BY MR. HAYES:
       2          Q.    Let me ask that in a better way.
       3    You told me that after learning about the
       4    lawsuit, you confirmed that you were still
       5    blocked from Katrina Jackson's Twitter page,
       6    correct?
       7          A.    That's my memory.
       8          Q.    Between that time and today, did you
       9    ever again check to see if you had --
      10          A.    To see --
      11          Q.    Let me finish.
      12          A.    I'm sorry.
      13          Q.    If your access had been restored to
      14    Senator Jackson's page?
      15          A.    Yes.    I have seen that I've been
      16    unblocked.
      17          Q.    When did you first learn that you
      18    were unblocked?
      19          A.    In my memory, it was maybe Spring
      20    2023, somewhere in there.
      21          Q.    Did you -- after seeing that you
      22    were unblocked, did you at some point see that
      23    you had been reblocked on her Twitter page?
      24          A.    I don't recollect ever being
      25    reblocked.
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       1          Q.    Okay.     So at the time you learned of
       2    the existence of the suit, you confirmed that
       3    you were blocked?
       4          A.    Yes.
       5          Q.    And you sought to join the suit at
       6    some point after that, correct?
       7          A.    Yes.
       8          Q.    And then, later in the Spring of
       9    2023, you confirmed that you had been
      10    unblocked at that time?
      11          A.    That's my memory.         Yes.
      12          Q.    And the petition that brought you
      13    into the suit, that brought your claims in,
      14    was not filed until August of '23, midsummer
      15    of that year, correct?
      16          A.    That sounds accurate.
      17          Q.    Okay.     So do you have anything --
      18    any evidence at all to show that at the time
      19    that the amended petition was filed, that you
      20    were blocked from accessing Senator Jackson's
      21    Twitter page?
      22          A.    No.
      23          Q.    What do you hope to accomplish with
      24    your lawsuit?
      25          A.    What I would really like to
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       1    accomplish is to have it settle law that
       2    elected officials and government agencies
       3    can't block American citizens on social media.
       4            Q.     So your goal is for there to be
       5    legal precedent established to that effect?
       6            A.     That is my goal.
       7            Q.     Are you looking to recover anything
       8    else?
       9            A.     No.
      10            Q.     No?     You're not seeking any monetary
      11    compensation?
      12            A.     I am not seeking monetary
      13    compensation.
      14            Q.     I'm very tempted to go down the road
      15    of a philosophical discussion with you on
      16    this.        I don't know if this is the right forum
      17    for it, but I do want to ask you with respect
      18    to a public official, do you recognize that
      19    they, as individuals, regardless of their
      20    elected status, would also have First
      21    Amendment rights to their own beliefs?
      22            A.     Yes.
      23                   MR. PETTIGREW:
      24                           I'm going to object to the
      25            previous question.            I didn't have time
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       1           to object before, but it calls for a
       2           legal conclusion.
       3    BY MR. HAYES:
       4          Q.    In what context would you expect to
       5    see that?
       6                MR. PETTIGREW:
       7                       Objection to form.
       8                THE WITNESS:
       9                       Could you repeat the question?
      10    BY MR. HAYES:
      11          Q.    What context would you expect the
      12    rights of the public officials -- their First
      13    Amendment rights to be acknowledged compared
      14    to the rights or the precedent you're seeking
      15    where a public official cannot block a citizen
      16    from accessing social media?
      17                MR. PETTIGREW:
      18                       Okay.   I'm going to object to
      19           form and the fact that it calls for a
      20           legal conclusion.
      21                MR. HAYES:
      22                       You can answer, if you can.
      23                THE WITNESS:
      24                       I think they have a right to
      25           speak out.     I think they have a right to
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       1           write.    I think they have a right to
       2           print.    I think they have those basic
       3           enumerated First Amendment rights, just
       4           in general.
       5                MR. HAYES:
       6                       Mr. Sherman, I think that's all
       7           the questions I have for you.
       8                THE WITNESS:
       9                       Okay.
      10                MR. PETTIGREW:
      11                       We do have some redirect.           I
      12           think we might need a five-minute break
      13           before we do that.
      14                MR. HAYES:
      15                       Sure.
      16         (A short break was taken at this time.)
      17    BY MR. PETTIGREW:
      18          Q.    First, I just want to clarify one
      19    thing.     You mentioned -- you testified earlier
      20    today that your Twitter user name was Talk
      21    About The South?
      22          A.    Yes.
      23          Q.    Are you sure that's your correct
      24    user name?
      25          A.    Yes.
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       1          Q.     Is it not Tweet The South?
       2          A.     No.     I'm so sorry.      I made a
       3    mistake.     If I said that, I meant to say Tweet
       4    The South.       My -- I think my Facebook is Talk
       5    About The South.        My Instagram is Show The
       6    South.     I'm so sorry.      I made an honest
       7    mistake on that.
       8          Q.     No worries.      Just wanted to clarify.
       9          A.     It's @tweetthesouth.          Yes.
      10          Q.     Perfect.      Okay.    And Mr. Sherman, do
      11    you use Twitter for political activity?
      12          A.     Yes.     Very much.
      13          Q.     About how much of your political
      14    activity would you say you do on Twitter?
      15          A.     75 percent of it.
      16          Q.     And why do you do 75 percent of your
      17    political activity on Twitter?
      18          A.     Because I find that I get a
      19    better -- I actually get -- reach the person,
      20    the elected official, in most cases.                 And
      21    also, I get better response.            They seem to
      22    respond, read it and actually respond to it a
      23    little better than I have through calling
      24    their office or emailing their office or
      25    anything like that.
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       1          Q.     Thank you.    Mr. Sherman, you
       2    testified earlier today that you did not have
       3    a copy of the complaint with you, correct?
       4          A.     I don't have a copy of the complaint
       5    with me.
       6          Q.     Okay.   So you don't have the prayer
       7    for relief in this case on hand?
       8          A.     Not to my knowledge.
       9          Q.     Okay.   And the lawyers in this case,
      10    not you, drafted the prayer for what is -- for
      11    what this lawsuit is seeking?
      12          A.     Most lawsuits would have that, I
      13    think.     I don't recall.        I could have read it,
      14    but I don't remember.
      15          Q.     Okay.   But the lawyers in this case
      16    did draft a complaint and the prayer for
      17    relief, correct?
      18          A.     Yes.
      19          Q.     Okay.   Just one last thing, real
      20    quick.     Is it correct that you were blocked on
      21    Twitter by Senator Jackson for, approximately,
      22    nine years?
      23          A.     Nine or ten.
      24          Q.     And during that time, could you
      25    comment or like or respond to any of her
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       1    posts?
       2          A.     I couldn't see it.
       3          Q.     And is it true that you could be
       4    reblocked at any time?
       5          A.     Yes.
       6          Q.     Okay.
       7                 MR. PETTIGREW:
       8                         That's all of our questions.
       9                 THE WITNESS:
      10                         Okay.
      11                 MR. HAYES:
      12                         Read and sign?     I don't know if
      13           you heard the discussion that I had
      14           earlier with Ms. Detiege, but now that
      15           your testimony is concluded, it will be
      16           typed into a booklet form and you'll
      17           have an opportunity to review that if
      18           you'd like to read and sign it.
      19                 THE WITNESS:
      20                         I would like to read and sign
      21           it.
      22                 MR. HAYES:
      23                         Okay.   Very good.     Could you
      24           tell the court reporter, once we go off
      25           the record, where you want that sent so
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       1           you can review it?         Other than that, we
       2           can conclude today.         Thank you.
       3                MS. SCHWARTZMANN:
       4                       You can send it to me, as well.
       5                THE WITNESS:
       6                       Yeah. Send it to Katie and I'll
       7           get a copy.
       8                COURT REPORTER:
       9                       Did you want a copy of the
      10           deposition?
      11                MS. SCHWARTZMANN:
      12                       Yes, please.
      13       (Whereupon, the deposition was concluded.)
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
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      25
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       1
       2          W I T N E S S       C E R T I F I C A T E
       3
       4          I, DAYNE SHERMAN, have read or have had
       5    read to me the foregoing testimony, and I
       6    certify that this deposition is true and
       7    correct, inclusive of any corrections and/or
       8    changes to the best of my ability and
       9    understanding.
      10
      11
      12
      13               SIGNATURE:__________________________
      14
      15                     DATE:__________________________
      16
      17
      18       _________SIGNED WITH CORRECTIONS AS NOTED.
      19
      20       _________SIGNED WITHOUT CORRECTIONS AS
      21    NOTED.
      22
      23
      24
      25
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       1                 C E R T I F I C A T E
       2          This certification is valid only for a
            transcript accompanied by my original
       3    signature and original required seal on this
            page.
       4             I, LISA LANASA HIBBS, CCR, in and for
            the State of Louisiana, as the officer before
       5    whom this testimony was taken do hereby
            certify that to foregoing witness to whom oath
       6    was administered, after having been duly sworn
            by me upon authority of R. S. 37:2554, did
       7    testify as herein before set forth in the
            foregoing pages; that the testimony was
       8    reported by me in the stenotype reporting
            method, was prepared and transcribed by me or
       9    under my personal direction and supervision,
            and is a true and correct transcript to the
      10    best of my ability and understanding;
                     That the transcript has been prepared
      11    in compliance with transcript format
            guidelines required by statute or by rules of
      12    the board, that I am informed about the
            complete arrangement, financial or otherwise
      13    with the person or entity making arrangements
            for deposition services; that I have acted in
      14    compliance of the prohibition on contractual
            relationships, as defined by Louisiana Code of
      15    Civil Procedure, Article 1434 and in rules and
            advisory opinions of the board.
      16           That I have no actual knowledge of any
            prohibited employment or contractual
      17    relationship, direct or indirect, between a
            court reporting firm and any party litigant in
      18    this matter, nor is there any such
            relationship between myself and a party
      19    litigant in this matter.
                   I am not related to counsel or to the
      20    parties herein, nor am I otherwise interested
            in the outcome of this case.
      21
      22
                             ________________________
      23                     Lisa LaNasa Hibbs, CCR
                             Certified Court Reporter
      24                     State of Louisiana
                             10-14-24
      25
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